USCA Case #23-5017           Document #2025816            Filed: 11/07/2023       Page 1 of 1



                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 23-5017                                                 September Term, 2023
                                                                        1:21-cv-02857-JEB
                                                        Filed On: November 7, 2023
National Security Archive,

              Appellant

       v.

Central Intelligence Agency,

              Appellee


       BEFORE:       Rao and Childs, Circuit Judges; and Ginsburg, Senior Circuit Judge

                                         ORDER

       It is ORDERED, on the court’s own motion, that the parties be prepared at oral
argument on November 20, 2023, to address whether Appellant has standing after
TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021). See, e.g., id. at 2214 (“An
‘asserted informational injury that causes no adverse effects cannot satisfy Article III.’”).


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk
